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        Exhibit D
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From:          Elizabeth Hadaway
To:            Nichols Chambers@dcd.uscourts.gov; Courtney Moore; Upadhyaya Chambers; Hope Kashatus
Cc:            AttorneyLambert; Alfred D. Carry; Robert N. Discoll; Davida Brook; Stephen Shackelford; Amanda Oliver; Andrew
               D. Parker; Bethany Pickett Shah; blades@parkerdk.com; Carl C. Butzer; Charles L. Babcock; Chris Kachouroff ;
               Christina Vitale ; Christopher Grecian; Daniel Marvin; Daniel T. Plunkett; David C. Tobin; David Myers; Elizabeth
               S. Wright; Gregory M. Singer; Jill Thorvig; Joel R. Glover; John F. Lauro; John K. Edwards; Jonathan D.
               Neerman; Joseph A. Pull; Joseph D. Sibley; Joshua Mooney; Lori Johnson; Marc J. Eisenstein; Marc S. Casarino;
               Minoo S. Blaesche; Nancy W. Hamilton; Nathaniel R. Greene; Robert Cynkar ; Roxanne A. Russell; Teresa
               Cinnamond; Trent McCotter ; Dominion ListserveSusmanGodfrey
Subject:       1:21-cv-02131 - US Dominion Inc. et al. v. Patrick Byrne
Date:          Tuesday, March 12, 2024 9:01:16 PM
Attachments:   Attachment 1 - Byrne Dkt Protective Order.pdf
               Attachment 2 - 2024-03-11 Email from R Driscoll to Dominion Counsel re Breach of PO.pdf
               Attachment 3 - 2024-03-11 Email from D Brook to R Driscoll re Breach of PO.pdf
               Attachment 4 - 2024-03-12 Email from E Hadaway to Def Counsel re Email Court re Breach of PO.pdf
               Attachment 5 - 2024-03-12 Email from S Lambert to E Hadaway re Substitution of Counsel.pdf



Dear Judge Nichols, Judge Upadhyaya, and Chambers:

Dominion brings to the attention of Your Honors an urgent matter
regarding breach of the June 16, 2023, Amended Protective Order,
attached hereto. See Attachment 1 (Byrne Dkt. 46); see also Powell Dkt.
82; Lindell Dkt. 165; Giuliani Dkt. 55. We submit this matter to Your
Honors concurrently given that the Protective Order was signed by Judge
Nichols, but discovery disputes have been referred to Judge Upadhyaya.

On March 11, 2024, Mr. Robert Driscoll, counsel for Mr. Patrick Byrne,
alerted counsel for Dominion to the fact of the breach of the Amended
Protective Order, in an email with attachments, included herewith as
Attachment 2 (Mar. 11 Driscoll Email) stating:

        It has recently come to our attention that Confidential Discovery
        Material produced by Dominion in this case has been disclosed in
        a public filing in Michigan by Stefanie Lambert. Ms. Lambert had
        access to Confidential Discovery Material as an attorney for
        Patrick Byrne who was assisting in this litigation. Prior to her
        gaining access to any Confidential Discovery Material, she signed
        an Undertaking in which she agreed to use all Discovery Material
        only as permitted by the Protective Order. Attached is a copy of
        her signed Undertaking.

        Dominion’s Confidential Discovery Material appears to have been
        shared with a non-party (i.e., Sheriff Dar Leaf of Barry County,
        Michigan) by Stefanie Lambert and publicly disclosed by her as
        part of a filing she made in the criminal case styled People of the
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      State of Michigan vs. Stefanie Lynn Lambert Junttila, which is
      currently pending before the Sixth Circuit Court in Oakland
      County, Michigan as Case Number 2023-285759-FH….

The same day, Dominion’s Co-Lead Counsel Ms. Davida Brook responded
and requested more information about the scope and extent of the breach
and about counsel’s remedial efforts. A copy of Ms. Brook’s email is
attached hereto as Attachment 3 (Mar. 11 Brook Email). Ms. Brook also
communicated Dominion’s intent to raise the issue on the following day’s
previously scheduled meet and confer concerning the parties’ Joint Status
Report and at the upcoming March 18, 2024 hearing. Id.

The next day, today, March 12, 2024, the Parties met by Zoom to discuss
the Joint Status Report. During that conference, Ms. Brook raised the need
to add the breach to the parties’ Joint Status Report and alert the Court at
the March 18 Hearing, and Mr. Driscoll agreed.

Then, earlier this afternoon, Ms. Stefanie Lambert, the attorney who has
violated the Amended Protective Order, filed a Notice of Appearance on
behalf of Mr. Byrne. Subsequently, Mr. Byrne’s longtime counsel of record,
the McGlinchey lawyers, purported to withdraw as counsel. Dominion has
to date received no assurance from Mr. Byrne’s counsel as to whether Ms.
Lambert continues to retain Dominion confidential information or whether
she has stopped violating the protective order or intends to take any
remedial measures to cabin and remedy this breach.

Dominion notified Defendants of its intent to raise this matter with the
Court in the attached email. See Attachment 4 (Mar. 12 Hadaway Email).
Ms. Lambert responded with the email attached hereto as Attachment 5
(Mar. 12 Lambert Email). Needless to say, her statements about counsel
are false. But Ms. Lambert did affirmatively confirm in her email that it
was her client, Mr. Byrne, who directed violation of the protective order,
and her statements and conduct indicate every apparent intention of
continuing to violate it.

Dominion urgently seeks the Court’s assistance to address and contain the
breach caused by Mr. Byrne’s counsel.   We ask for the Court to permit an
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emergency hearing before Judge Nichols or Judge Upadhyaya, or for
permission to raise this issue at the March 18 hearing.

Respectfully submitted,

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